                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                                  5:12-CV-00044-RLV
                             (5:08-CR-00027-RLV-DCK-3)

DAVID OTERO-CAMPOS,                           )
                                              )
               Petitioner,                    )
                                              )
        v.                                    )
                                              )                      ORDER
UNITED STATES OF AMERICA,                     )
                                              )
               Respondent.                    )
                                              )

       THIS MATTER is before the Court on consideration of Respondent’s motion to dismiss

Petitioner’s pro se motion to vacate, set aside or correct sentence which he filed pursuant to 28

U.S.C. § 2255. For the reasons that follow, Respondent’s motion to dismiss will be granted.

                                      I.   BACKGROUND

       Petitioner and others were charged in a second-superseding bill of indictment with

conspiring to distribute at least 5 kilograms of cocaine, in violation of 21 U.S.C. §§ 846 and

841(b)(1)(A) (Count One); and one count of possession with intent to distribute in excess of 5

kilograms of cocaine and aiding and abetting the same, all in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(A), and 18 U.S.C. § 2 (Count Two). (5:08-CR-00027, Doc. No. 122: Second

Superseding Indictment). Petitioner elected to enter a straight-up plea to the two charges and his

guilty plea was accepted following a Plea and Rule 11 hearing before U.S. Magistrate Judge Carl

Horn, III, after the court found that it was knowingly and voluntarily entered.

       The U.S. Probation Office prepared a presentence investigation report (PSR) in advance

of Petitioner’s sentencing hearing. Applying the 2008 version of the U.S. Sentencing Guidelines


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Manual (USSG), the probation officer calculated a total offense level of 34 after adjusting

downward two-levels for acceptance of responsibility, 1 and then applied a two-level

enhancement after concluding that a co-defendant possessed a firearm during the course of the

drug conspiracy and that this fact was reasonably foreseeable to Petitioner. (Id., Doc. No. 186:

PSR). See USSG § 2D1.1(b)(1). After finding a total offense level of 34, and a criminal history

category I, Petitioner’s Guidelines range was determined to be 151 to 188 months’

imprisonment. At sentencing, the Court found, over Petitioner’s objection, that the Guidelines

calculation was correct and Petitioner was sentenced to the low-end of the Guidelines range. (Id.,

Doc. No. 222: Judgment). Petitioner appealed the judgment to the United States Court of

Appeals for the Fourth Circuit.

        On appeal, Petitioner confined his argument to the issue of whether this Court violated

his right to due process by enhancing his sentence based on evidence he argued was unreliable.

The Circuit Court rejected this argument after concluding that the evidence relied upon at

sentencing was sufficiently reliable “to support its probable accuracy.” United States v. Otero-

Campos, 424 F. App’x 212, 214 (4th Cir. 2011) (unpublished) (citing USSG § 6A1.3(a)).

Petitioner’s judgment was affirmed and this collateral proceeding follows, and Petitioner’s

claims will be addressed herein.

                                    II.      STANDARD OF REVIEW

        Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings, sentencing

courts are directed to examine motions to vacate, along with “any attached exhibits and the

record of prior proceedings” in order to determine whether a petitioner is entitled to any relief.


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 The Government informed the probation officer that it would not move for an additional one-level reduction for
acceptance under USSG § 3E1.1(b).

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The Court has considered the record in this matter and applicable authority and concludes that

this matter can be resolved without an evidentiary hearing. See Raines v. United States, 423 F.2d

526, 529 (4th Cir. 1970).

                                       III.      DISCUSSION

       A.      Ineffective Assistance of Counsel

       In order to prevail on a claim of ineffective assistance of counsel, a petitioner must show

that: (1) “counsel’s representation fell below an objective standard of reasonableness,” and (2)

“the deficient performance prejudiced the defense.” Strickland v. Washington, 466 U.S. 668,

687-88 (1984). In measuring counsel’s performance, there is “a strong presumption that

counsel’s conduct falls within the wide range of reasonable professional assistance.” Id. at 689.

A petitioner seeking post-conviction relief bears a “heavy burden” to overcome this presumption.

Carpenter v. United States, 720 F.2d 546, 548 (8th Cir. 1983). Conclusory allegations do not

overcome the presumption of competency. Id.

       To demonstrate prejudice in the context of a guilty plea, Petitioner must still satisfy the

standard set forth in Strickland. In regard to the second prong, Petitioner must demonstrate that

he was prejudiced by ineffective assistance of counsel by showing “a reasonable probability that,

but for counsel’s errors, [she] would not have pleaded guilty and would have insisted on going to

trial.” Hill v. Lockhart, 474 U.S. 52, 59 (1985).

       Under these circumstances, Petitioner “bears the burden of proving Strickland prejudice.”

Fields v. Attorney Gen. of Md., 956 F.2d 1290, 1297 (4th Cir. 1992) (citing Hutchins v.

Garrison, 724 F.2d 1425, 1430-31 (4th Cir. 1983), cert. denied, 464 U.S. 1065 (1984)). If

Petitioner fails to meet this burden, “a reviewing court need not consider the performance



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prong.” Fields, 956 F.2d at 1297 (citing Strickland, 466 U.S. at 697). In considering the prejudice

prong of the analysis, the Court must not grant relief solely because Petitioner can show that, but

for counsel’s performance, the outcome of the proceeding would have been different. See Sexton

v. French, 163 F.3d 874, 882 (4th Cir. 1998). Rather, the Court “can only grant relief under the

second prong of Strickland if the ‘result of the proceeding was fundamentally unfair or

unreliable.’” Id. (quoting Lockhart v. Fretwell, 506 U.S. 364, 369 (1993)).

                    1.       Ground One

           Petitioner first contends that his guilty plea was not knowingly and voluntarily entered

because his attorney failed to properly explain the charges or consequences of conviction and

that his counsel allowed him to plead guilty while another defendant was also being questioned

during his Rule 11 hearing. Petitioner also argues that his inability to read and understand the

English language rendered his guilty plea invalid because he did not fully understand the charges

against him, the consequences of pleading guilty, or the proceedings related to his guilty plea in

open court. (5:12-CV-00044, Doc. No. 1 at 5, 10).

           Petitioner appeared with counsel for his Plea and Rule 11 hearing and he was placed

under oath and an interpreter, Ms. Gonzalez, was present with him. The court addressed

Petitioner and he averred, through his interpreter, that he wished to plead guilty to Counts One

and Two in his indictment. Next, the court read from the second superseding indictment and

explained the elements of each charge and the possible penalties associated with conviction,

including the minimum and maximum terms of imprisonment, and Petitioner averred that he

understood the charges and potential penalties.2 Petitioner acknowledged that he had the right to


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    Petitioner was informed that he faced no less than 10 years nor more than life imprisonment upon conviction on

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proceed to trial, to have the assistance of counsel, and to summon witnesses to testify in his

behalf, and to confront the Government’s witnesses. Petitioner further affirmed that he

understood that if he chose to go to trial, the Government would have the burden of proving his

guilt beyond a reasonable doubt. Petitioner also confirmed that he had discussed any possible

defenses with his attorney, that no one had made him any promises of leniency or any particular

sentence, and that he was satisfied with the services of his attorney. 3 Petitioner averred that he

understood all parts of the Rule 11 hearing and that he still wished to enter his guilty plea and

that he had no questions regarding the proceeding. After the court had exhausted its questions,

Petitioner reviewed the Acceptance and Entry of Plea form and signed it in open court, and

thereby affirmed that the answers that he had given were accurate and true. (Id., Doc. No. 123:

Acceptance and Entry of Guilty Plea; Doc. No. 251: Tr. of Plea and Rule 11 Hearing).

        Petitioner’s contention that he did not understand the charges against him – due to a

language barrier or otherwise – or that he was confused because another defendant’s plea was

taken at the same time is without merit. The transcript of the Plea and Rule 11 hearing makes

clear that the court addressed questions to Petitioner individually and Petitioner answered each of

the questions through his interpreter and averred that he understood all parts of the proceeding.

Additionally, Petitioner confirmed at the outset of his sentencing hearing that he understood the

elements of Counts One and Two and the potential penalties and that he still wished to plead

guilty, and he admitted that he was in fact guilty and he confirmed, yet again, that he was fully

satisfied with the services of his attorney. (5:08-CR-00027, Doc. No. 252: Sent. Tr. at 2).


Count One and on Count Two. See 21 U.S.C. § 841(b)(1)(A).
3
 In fact, Petitioner complemented his attorney and remarked that he had done a “good job for me.” (Tr. of Plea and
Rule 11 Hearing at 19-20).

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         Accordingly, he is bound by the sworn answers that he provided in his Rule 11 hearing

and in his Acceptance and Entry of Plea form and by his affirmations before this Court during

sentencing. “Thus, in the absence of extraordinary circumstances . . . allegations in a § 2255

motion that directly contradict the petitioner’s sworn statements made during a properly

conducted Rule 11 colloquy are always ‘palpably incredible’ and ‘patently frivolous or false.’”

United States v. Lemaster, 403 F.3d 216, 221 (4th Cir. 2005). Put another way, “in the absence

of extraordinary circumstances, the truth of sworn statements made during a Rule 11 colloquy is

conclusively established, and the district court should, without holding an evidentiary hearing,

dismiss any § 2255 motion that necessarily relies on allegations that contradict the sworn

statements. Otherwise, a primary virtue of Rule 11 colloquies would be eliminated . . .” Id. at

221-22 (citing Blackledge v. Allison, 431 U.S. 63, 79 n.19 (1977). See also Blackledge, 431 U.S.

at 74 (“For the representations of the defendant, his lawyer, and the prosecutor at such a hearing,

as well as any findings made by the judge accepting the plea, constitute a formidable barrier in

any subsequent collateral proceedings. Solemn declarations in open court carry a strong

presumption of verity.”).

         For the reasons stated, the Court finds that this ground for relief is without merit.4



         Petitioner also charges that his counsel was ineffective in failing to properly challenge a



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 Plaintiff’s contention that his attorney assured him of a sentence of 46 to 57 months’ imprisonment is likewise
without merit. During his Rule 11 hearing, the court clearly informed him that he faced no less than 10 years in
prison upon conviction on Count One and Count Two; Petitioner averred that he understood the minimum and
maximum penalties; and he confirmed that no one, including his attorney, had promised him any particular sentence
or leniency. See United States v. Lambey, 974 F.2d 1389, 1395 (4th Cir. 1992) (“[I]f the information given by the
court at the Rule 11 hearing corrects or clarifies the earlier erroneous information given by the defendant’s attorney
and the defendant admits to understanding the court’s advice, the criminal justice system must be able to rely on the
subsequent dialogue between the court and defendant); United States v. Foster, 68 F.3d 86, 88 (4th Cir. 1995).

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two-level enhancement for acting in a supervisory capacity during the conspiracy pursuant to

USSG § 3B1.1(c). (5:12-CV-0004, Doc. No. 1 at 5, 10). Petitioner contends that he “could not

read, write, speak English, count or negotiate” and that he was merely a “laborer” under the

direction and control of Garcia-Cortez, a fellow conspirator.

       Prior to sentencing, the Government filed an objection to the draft PSR and argued that

Petitioner should receive the two-level enhancement because he assumed a leadership role in the

drug conspiracy. Specifically, the Government argued that Petitioner’s effort to minimize his role

in the conspiracy to that of just a courier, or mule, was disingenuous, and there was evidence

which demonstrated that Petitioner was captured on a wiretap out of Tampa, Florida, and he

appeared to be directing a courier in a drug transaction within the course the conspiracy. (5:08-

CR-00027, Doc. No. 180: Government’s Objection at 1-2).

       During sentencing, the Government presented testimony from Special Agent John

Pavlovic from the Immigration and Customs Enforcement (ICE) in an effort to establish a factual

basis for the guilty plea and to support its recommended enhancements. The testimony tended to

show that Petitioner delivered 10 kilograms of cocaine to Hugo Garcia-Cortez during the course

of the conspiracy, and that Petitioner delivered cocaine to him on eight prior occasions for a total

delivery of between 35 and 40 kilograms of cocaine. On two of these occasions, Petitioner was

accompanied by two bodyguards that Special Agent Pavlovic testified were working for

Petitioner.

       On cross-examination, Petitioner’s attorney closely questioned Special Agent Pavlovic as

to the source of his testimony in an effort to discredit the evidence and he vigorously argued

against the application of the two-level enhancement. (Id., Doc. No. 252: Sent. Tr. at 35 (defense



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counsel noting evidence supported role as supplier only)). However, following presentation of

the evidence and arguments of counsel, the Court overruled Petitioner’s objection after finding

that the evidence supported the two-level enhancement for his role as a supervisor in the

conspiracy. (Id. at 46).

       Petitioner bears the burden of demonstrating that his counsel’s challenge to the

application of the two-level enhancement was deficient and that he was prejudiced by the

deficient performance. See Strickland, 466 U.S. at 687. After considering the cross-examination

by Petitioner’s counsel and his arguments during sentencing, the Court finds that Petitioner has

failed to demonstrate any right to Strickland relief.

               2.        Ground Four

       Petitioner argues here that he is entitled to habeas relief because he instructed his attorney

to contact the Mexican Consulate after he was arrested but he failed to do so. (5:12-CV-00044,

Doc. No. 1 at 10). Petitioner maintains that if his attorney had contacted the consulate, then

Petitioner would have been informed about “the true circumstances of his arrest. This was a clear

violation of Article 36 of the Vienna Convention on Consular Relations.” (Id. at 19).

Furthermore, Petitioner asserts that if he had reached the consulate he would have received

accurate information regarding the charges, and the potential penalties. (Id. at 17). This argument

fails for two reasons.

       First, as the Court found during his sentencing hearing, and again herein, the Petitioner

was fully informed of the nature of the charges against him and the potential penalties thus

information from the consulate, even assuming it was correct, would at best have been redundant

as Petitioner was provided the correct information during his Rule 11 hearing. Accordingly,



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Petitioner cannot demonstrate prejudice in this context.

         Second, Petitioner had no constitutional right to contact the Mexican Consulate in an

effort to seek intervention during his prosecution. See Sanchez-Llamas v. Oregon, 548 U.S. 331,

349 (2006) (“Indeed, Article 36 does not guarantee defendants any assistance at all. The

provision secures only a right of foreign nationals to have their consulate informed of their arrest

or detention—not to have their consulate intervene, or to have law enforcement authorities cease

their investigation pending any such notice or intervention.”) (italics in original). As the Court

noted, all persons charged with a crime in this country are entitled to assistance of counsel. Id. at

350 (citing Wong Wing v. United States, 163 U.S. 228, 238 (1896)). “Article 36 adds little to

these legal options . . .” Id.

        In Petitioner’s case, he was provided effective assistance of counsel, and he has failed to

demonstrate how he was prejudiced by an alleged failure to notify the Mexican Consulate.

        B.      Ground Two

        Next, Petitioner complains that he was not afforded a third point for acceptance of

responsibility. (5:12-CV-00044, Doc. No. 1 at 5, 15). To the extent that Petitioner couches this

claim as one of ineffective assistance of counsel, this claim will be denied.

         Petitioner was initially indicted on June 25, 2008, and charged in a superseding bill of

indictment on December 16, 2008, and finally, Petitioner was charged in the second superseding

bill of indictment on March 17, 2009. Each of these indictments charge Petitioner with the same

substantive crimes to which he eventually pleaded guilty, and these are the very crimes that

Petitioner had apparently determined to contest at trial prior to changing his plea.

        As the Government observes, Petitioner waited nearly nine months following his initial



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indictment to enter his guilty plea and during this time the Government was preparing for trial.

The Government has discretion in choosing whether to move for an additional one-point

reduction. See United States v. Divens, 650 F.3d 343, 347 (4th Cir. 2011) (noting the

Government has the authority to determine whether defendant’s guilty plea was timely) (citing

USSG § 3E1.1(b)).

         In the present case, the Government made it clear that it would not move for an additional

one-point reduction based, in part, on Petitioner’s delay in entering his guilty plea. (Id., Doc. No.

4: Government’s Answer at 4). In addition, the Government found that Petitioner had been less

than truthful when providing information during the Government’s investigation into the drug

conspiracy and in his statement which he completed in an effort to obtain a safety valve

reduction.5 See (5:08-CR-00027, Sent. Tr. at 32-33, 43). Moreover, in calculating Petitioner’s

adjusted offense level, this Court awarded Petitioner a two-level reduction for acceptance of

responsibility, albeit with reservations given some of Petitioner’s dubious statements concerning

his involvement in the conspiracy. (Id. at 46). Thus, Petitioner cannot demonstrate that it was

error to deny an additional point reduction and he has failed to demonstrate ineffective assistance

on this claim.

         Finally, if Petitioner is seeking to rely solely on Government misconduct or trial court

error to support his argument, this claim must fail. Petitioner did not raise this issue on direct



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  In order to qualify for a safety valve reduction below a mandatory minimum under USSG § 5C1.2 and 18 U.S.C. §
3553(f), a defendant must establish five things: (1) that he has no more than one criminal history point; (2) the
defendant did not commit violence or threatening action or possess a firearm during the charged offense; (3) the
offense did not result in the death or serious injury to any person; (4) the defendant did not qualify as an organizer,
leader, manager or supervisor, as provided for in the Guidelines, during the commission of the charged offense; and
(5) no later than the time of sentencing, the defendant has provided the government with all the truthful information
known to him regarding the offense of conviction.


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appeal and consequently, he has procedurally defaulted this issue on collateral review. See

Massaro v. United States, 538 U.S. 500, 504 (2003) (providing that a petitioner may not raise

claims on collateral review unless he can demonstrate both cause and prejudice); Bousley v.

United States, 523 U.S. 614, 621 (1998). The denial of an extra one-point reduction was, if

anything, occasioned by Petitioner’s own conduct in delaying his guilty plea for nearly nine

months after his initial indictment, and based on his decision to provide less than truthful

statements to the Government.

        For the reasons stated, the Court finds that this claim should be denied.

                                            IV.      CONCLUSION

        For the foregoing reasons, the Court finds that the claims raised in Petitioner’s Section

2255 motion are without merit and accordingly, he is entitled to no relief in this collateral

proceeding.6

        IT IS, THEREFORE, ORDERED that:

        1.    Respondent’s motion to dismiss is GRANTED. (Doc. No. 5).

        2. Petitioner’s motion requesting response to interrogatories is DENIED. (Doc. No. 7).

        3. Petitioner’s § 2255 Motion is DENIED and DISMISSED with prejudice. (Doc. 1).

        IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules Governing

Section 2255 Proceedings, this Court declines to issues a certificate of appealability as Petitioner

has not made a substantial showing of a denial of a constitutional right. See 28 U.S.C. §

2253(c)(2); Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy § 2253(c), a

petitioner must demonstrate that reasonable jurists would find the district court’s assessment of

6
  Petitioner filed a motion to compel the Government to respond to interrogatories, however this Court never ordered
that discovery should commence so this motion will be denied. See Rule 6 of the Rules Governing Section 2255
Proceedings.

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the constitutional claims debatable or wrong).

       IT IS SO ORDERED.

 Signed: January 15, 2015




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